         Case 1:21-cr-00537-JMC Document 188 Filed 08/11/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                               )
 UNITED STATES OF AMERICA,                     )
                                               )          Criminal No. 1:21-cr-00537
                      v.                       )
                                               )
 RYAN SAMSEL,                                  )
                                               )
                 Defendant.                    )
                                               )

                                     STATUS REPORT

       Defendant Ryan Samsel, by and through the undersigned counsel, and pursuant to the

Court’s July 28, 2022, Order hereby submits the foregoing Status Report. As of the time of

filing, Mr. Samsel has yet to be transferred from FDC Philadelphia and to defense counsel’s

knowledge, Mr. Samsel has not received any follow up medical care as requested by the vascular

surgeon who evaluated Mr. Samsel.

                               [SIGNATURE ON NEXT PAGE]


 Dated: August 11, 2022                   Respectfully submitted,

                                                 /s/ Stanley E. Woodward, Jr.
                                          Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                          BRAND WOODWARD LAW, LP
                                          1808 Park Road NW
                                          Washington, DC 20010
                                          202-996-7447 (telephone)
                                          202-996-0113 (facsimile)
                                          Stanley@BrandWoodwardLaw.com

                                          Counsel for Defendant Ryan Samsel




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 UNITED STATES OF AMERICA,                        )
                                                  ) Case No. 1:21-cr-00537-JMC
         v.                                       )
                                                  )
 RYAN SAMSEL,                                     )
                                                  )
                  Defendant.                      )
                                                  )

                                   CERTIFICATE OF SERVICE

       On August 11, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically send

electronic notification of such filing to the following registered parties:



                                                    /s/ Stanley E. Woodward, Jr.
                                             Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                             BRAND WOODWARD LAW, LP
                                             1808 Park Road NW
                                             Washington, DC 20010
                                             202-996-7447 (telephone)
                                             202-996-0113 (facsimile)
                                             Stanley@BrandWoodwardLaw.com

                                             Counsel for Defendant Ryan Samsel
